Case 1:20-cv-00038-CFC-CJB     Document 550 Filed 11/04/24       Page 1 of 10 PageID #:
                                      32848



                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

  NATERA, INC.,                              )
                                             )
                  Plaintiff,                       C.A. No. 20-38 (CFC) (CJB)
                                             )
                                             )     (CONSOLIDATED)
         v.
                                             )
  CAREDX, INC.,                              )
                                             )
                  Defendant.                 )
                                             )

     DEFENDANT CAREDX, INC.’S REPLY BRIEF RESPECTING THE
               MOTION TO REOPEN THE RECORD


  Dated: November 4, 2024

                                                 Brian E. Farnan (Bar No. 4089)
  Edward R. Reines (admitted pro hac vice)       Michael J. Farnan (Bar No. 5165)
  Derek C. Walter (admitted pro hac vice)        FARNAN LLP
  WEIL, GOTSHAL & MANGES LLP                     919 N. Market St., 12th Floor
  201 Redwood Shores Parkway                     Wilmington, DE 19801
  Redwood Shores, CA 94065                       (302) 777-0300
  (650) 802-3000                                 (302) 777-0301 (Fax)
  edward.reines@weil.com                         bfarnan@farnanlaw.com
  derek.walter@weil.com                          mfarnan@farnanlaw.com

  W. Sutton Ansley (admitted pro hac vice)       Attorneys for Defendant CareDx,
  WEIL, GOTSHAL & MANGES LLP                     Inc.
  2001 M Street, NW, Suite 600
  Washington, DC 20036
  (202) 682-7000
  sutton.ansley@weil.com
Case 1:20-cv-00038-CFC-CJB              Document 550 Filed 11/04/24                    Page 2 of 10 PageID #:
                                               32849



                                     TABLE OF CONTENTS

                                                                                                            Page

 I.    ARGUMENT ...................................................................................................1

 II.   CONCLUSION................................................................................................5




                                                        i
Case 1:20-cv-00038-CFC-CJB                 Document 550 Filed 11/04/24                     Page 3 of 10 PageID #:
                                                  32850



                                      TABLE OF AUTHORITIES

                                                                                                             Page(s)

 Cases
 Advanced Cardiovascular Sys., Inc. v. Medtronic, Inc.,
   265 F.3d 1294 (Fed. Cir. 2001) ..............................................................................3

 Alice Corp. v. CLS Bank,
   573 U.S. 208 (2014) ...............................................................................................3

 Genetic Technologies Ltd. v. Merial LLC.,
  818 F.3d 1369 (Fed. Cir. 2016) ..............................................................................2

 In re Stanford Univ.,
   991 F.3d 1245 (Fed. Cir. 2021) ..............................................................................2

 Parker v. Flook,
   437 U.S. 584 (1978) ...............................................................................................2

 Pharmacyclics LLC v. Alvogen Pine Brook LLC,
   556 F. Supp. 3d 377 (D. Del. 2021) .......................................................................4

 Statutes
 35 U.S.C. § 101 ......................................................................................... 1, 2, 3, 4, 5




                                                           ii
Case 1:20-cv-00038-CFC-CJB     Document 550 Filed 11/04/24        Page 4 of 10 PageID #:
                                      32851



 I.    ARGUMENT
       Natera’s opposition effectively moots CareDx’s motion to reopen by putting

 on the record the very position that CareDx sought to introduce: that the ’544

 patent’s “determining” step requires “no ‘particular’ math.” D.I. 545 at 6 (“Opp.”).

 Natera has now affirmatively embraced that position as its own. Natera’s opposition

 thus narrows the dispute between the parties. Both sides are now in full agreement

 that the claims do not require any “‘particular’ math,” so any math of any kind is

 covered. That is an abstract and sweeping claim on using any math at all to

 determine genetic information. That confirms that the ’544 patent is ineligible under

 Section 101.

       First, Natera confirms there is no innovative advance at the supposed point of

 novelty in the asserted claims of Natera’s ’544 patent. The “determining” step

 covers generic math, not the concrete “algorithms solv[ing] technological problems”

 that Natera previously argued was patentable subject matter. D.I. 509 at 9 (Natera

 Rule 52 opposition). Natera now agrees that “no ‘particular’ math or computation

 is required by the claims,” but rather that the patent’s “determining” step can be met

 by “some mathematical computation” of any kind. Opp. 6. Thus, Natera now agrees

 with the position CareDx has consistently taken throughout the litigation: that the

 patent covers only generic math. See D.I. 250 at 1 (CareDx Motion for Summary




                                           1
Case 1:20-cv-00038-CFC-CJB      Document 550 Filed 11/04/24        Page 5 of 10 PageID #:
                                       32852



 Judgment explaining that the patent is invalid because “all math is covered as the

 [patent’s] supposed solution”).1

       The parties’ now-shared understanding of the “determining” step in Natera’s

 patent underscores the invalidity of the ’544 patent. The parties agree that “no

 ‘particular’ math or computation is required,” and instead “some mathematical

 computation” of any kind that “bring[s] everything together” is sufficient. Opp. 6-

 7.   Accordingly, any kind of computation or analysis will do, including via

 algorithms that Natera did not create or that do not yet exist.

       As this Court has explained, “claiming math in the abstract is quintessential

 ineligible subject matter.” D.I. 402 at 10 (citing Parker v. Flook, 437 U.S. 584, 595

 (1978) and In re Stanford Univ., 991 F.3d 1245, 1251 (Fed. Cir. 2021)). And,

 because Natera cannot deny that the other steps in its patent claim routine laboratory

 techniques, adding a “determining” step that calls for nothing more than “subsequent

 analysis … cannot save” the ’544 patent “from § 101’s bar.” Id. at 7 (citing Genetic

 Technologies Ltd. v. Merial LLC., 818 F.3d 1369, 1380 (Fed. Cir. 2016)). Telling a

 scientist to do “some mathematical calculation” (Opp. 6) does not “solve[]

 technological problems with” applying the claim’s routine techniques, as Natera has

 previously claimed (D.I. 509 at 9).


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  CareDx disagrees that Natera has previously taken this position. See D.I. 538 at 9,
 13-14.


                                            2
Case 1:20-cv-00038-CFC-CJB     Document 550 Filed 11/04/24      Page 6 of 10 PageID #:
                                      32853



       Natera’s concession that the ’544 patent’s “determining” step covers any kind

 of math or computation also highlights the identity of the ’544 patent and the ’724

 patent that this Court invalidated. Both patents claim the same routine laboratory

 techniques followed by a “mental process of ‘subsequent analysis.’” D.I. 402 at 7.

 And, while Natera continues to assert that the ’544 patent is uniquely directed to a

 “method of preparation” (Opp. 14), Natera still cannot articulate how the patent’s

 “preparing a preparation” language changes what the claims are directed to. Natera

 has failed to show that that language adds anything to the claims other than empty

 labeling. See Alice Corp. v. CLS Bank, 573 U.S. 208, 224 (2014) (The “directed to”

 inquiry depends on “substance,” not “the draftsman’s art.”). Indeed, Natera’s own

 emphasis on the “determining” step establishes that this is a process to make a

 genetic determination and not some kind of preparation.

       Second, because Natera’s own brief is already a part of the Court’s record,

 and Natera has embraced the “no ‘particular’ math or computation’” position as its

 own (Opp. 6), there is no longer a need to reopen the record to include Professor

 Quackenbush’s deposition testimony to that same effect. Natera’s brief thus

 effectively provides CareDx the relief it sought, and enables this Court to consider

 Natera’s position when evaluating the advisory jury verdict and the Section 101

 motions. See Advanced Cardiovascular Sys., Inc. v. Medtronic, Inc., 265 F.3d 1294,

 1306 (Fed. Cir. 2001) (considering admissions in briefing in ascertaining claim



                                          3
Case 1:20-cv-00038-CFC-CJB     Document 550 Filed 11/04/24       Page 7 of 10 PageID #:
                                      32854



 scope); Pharmacyclics LLC v. Alvogen Pine Brook LLC, 556 F. Supp. 3d 377, 396

 (D. Del. 2021) (Connolly, J.), aff’d, No. 2021-2270, 2022 WL 16943006 (Fed. Cir.

 Nov. 15, 2022) (considering admissions in briefing in ruling on enablement).

 CareDx’s motion to reopen the record may therefore be denied as moot.

       Third, if the Court in its discretion decides nonetheless to reopen the record,

 that reopening should be limited to simply adding Professor Quackenbush’s

 complete deposition to the record. Reopening for that exceedingly limited purpose

 would not prejudice Natera. Natera agrees with the “no ‘particular’ math” position

 Dr. Quackenbush articulated in his deposition. And there would be no need for any

 additional proceedings. As to Section 101, there is no longer any dispute between

 the parties on the sole subject implicated by the testimony – the “determining” step.

 And Natera has forfeited its infringement claim against RFS. D.I. 540 (establishing

 forfeiture); Opp. 1 (Natera: “Natera withdrew its ongoing infringement claims”);

 Opp. 20 (Natera: “Natera decided not to pursue infringement claims against

 CareDx’s RFS-AlloSure.”). There is also no need for any claim construction given

 the parties’ agreement described above regarding the scope of the claims.




                                          4
Case 1:20-cv-00038-CFC-CJB     Document 550 Filed 11/04/24       Page 8 of 10 PageID #:
                                      32855



 II.   CONCLUSION
       For the foregoing reasons, this Court should deny the motion to reopen as

 moot or, if it wishes, reopen the record for the limited purpose of adding Dr.

 Quackenbush’s full testimony. In any event, this Court should grant judgment to

 CareDx that the ’544 patent is invalid under Section 101.



  Dated: November 4, 2024                     Respectfully submitted,

                                              FARNAN LLP

                                              /s/ Brian E. Farnan
                                              Brian E. Farnan (Bar No. 4089)
                                              Michael J. Farnan (Bar No. 5165)
                                              919 N. Market St., 12th Floor
                                              Wilmington, DE 19801
                                              (302) 777-0300
                                              (302) 777-0301 (Fax)
                                              bfarnan@farnanlaw.com
                                              mfarnan@farnanlaw.com

                                              Edward R. Reines (admitted pro hac vice)
                                              Derek C. Walter (admitted pro hac vice)
                                              WEIL, GOTSHAL & MANGES LLP
                                              201 Redwood Shores Parkway
                                              Redwood Shores, CA 94065
                                              (650) 802-3000
                                              edward.reines@weil.com
                                              derek.walter@weil.com

                                              W. Sutton Ansley (admitted pro hac vice)
                                              WEIL, GOTSHAL & MANGES LLP
                                              2001 M Street, NW, Suite 600
                                              Washington, DC 20036



                                          5
Case 1:20-cv-00038-CFC-CJB   Document 550 Filed 11/04/24     Page 9 of 10 PageID #:
                                    32856



                                          (202) 682-7000
                                          sutton.ansley@weil.com

                                          Attorneys for Defendant, CareDx, Inc.




                                      6
Case 1:20-cv-00038-CFC-CJB     Document 550 Filed 11/04/24      Page 10 of 10 PageID
                                    #: 32857



                      CERTIFICATE OF COMPLIANCE

       The foregoing document complies with the type-volume limitation of this

 Court’s November 10, 2022 Standing Order Regarding Briefing In All Cases. The

 text of this brief, including footnotes, was prepared in Times New Roman, 14 point.

 According to the word processing system used to prepare it, the brief contains 945

 words, excluding the case caption, signature block, table of contents and table of

 authorities.

 Dated: November 4, 2024

                                             /s/ Brian E. Farnan
                                             Brian E. Farnan (Bar No. 4089)




                                         7
